                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
 vs.                                          )      CASE NO. 3:12-00219
                                              )      JUDGE SHARP
 COREY SMITH                                  )




       ORDER ALLOWING DEFENDANT ACCESS TO IPOD FOR DISCOVERY
                             REVIEW

         Upon motion of the Defendant, the Court Orders that the Defendant shall be

 allowed to use an Apple Ipod or similar device for the purpose of reviewing the audio

 discovery in this case, subject to the guidelines established by the Robertson County Jail

 for such a procedure. The Apple Ipod shall be provided to the Robertson County Jail

 through the Defendant’s counsel, John Nicoll.


         Entered this the WKGD\RI0D\


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                                              Kevin H. Sharp, District Judge.




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